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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                           JUL 28 2017
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
GINA JAEGER, individually, and as                No.    17-35234
Personal Representative of the Estate of her
sister, Charlene Hill,                           D.C. No. 2:16-cv-00030-SEH
                                                 District of Montana,
                Plaintiff-Appellant,             Butte

 v.                                              ORDER

PEAK MEDICAL MONTANA
OPERATIONS, LLC,

                Defendant-Appellee,

and

AMBER DAYHUFF; et al.,

                Defendants.

Before: GOODWIN, KOZINSKI, and BERZON, Circuit Judges.

      The court has reviewed the responses to the court’s April 25, 2017 order to

show cause why the appeal should not be dismissed for lack of jurisdiction.

      This court lacks jurisdiction over this appeal because the district court order

challenged in this appeal is not a final order under 28 U.S.C. § 1291. See 9 U.S.C.

§ 16(b)(1), (2); see also Dees v. Billy, 394 F.3d 1290, 1292 (9th Cir. 2005) (“A

litigant may not appeal a district court’s interlocutory order staying judicial

proceedings or compelling parties to arbitrate a dispute.”).



LAB/MOATT
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     Accordingly, this appeal is dismissed for lack of jurisdiction

     DISMISSED.




LAB/MOATT                               2
